                                United States Court of Appeals
                                      For The Eighth Circuit
                                       Thomas F. Eagleton U.S. Courthouse
                                       111 South 10th Street, Room 24.329
                                     St. Louis, Missouri 63102
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                                                             July 12, 2023


Mr. Charles C. Eblen
SHOOK & HARDY
2555 Grand Boulevard
Kansas City, MO 64108-2613

         RE: 22-2644 Lady Maakia Charlene Smith v. Richard Lisenbe, et al

Dear Counsel:

       The court has issued an opinion in this case. Judgment has been entered in accordance
with the opinion.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en banc must be
received in the clerk's office within 14 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. Except as
provided by Rule 25(a)(2)(iii) of the Federal Rules of Appellate Procedure, no grace period for
mailing is allowed. Any petition for rehearing or petition for rehearing en banc which is not
received within the 14 day period for filing permitted by FRAP 40 may be denied as untimely.

                                                             Michael E. Gans
                                                             Clerk of Court

HAG

Enclosure(s)

cc:      Mr. Michael G. Berry
         Clerk, U.S. District Court, Eastern District of Missouri
         Mr. Brandon K. Gutshall
         Ms. Lindsey K. Heinz
         Mr. Ryan J. McDaniels

            District Court/Agency Case Number(s): 4:20-cv-00804-JMB




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West Publishing
Opinions Clerk
610 Opperman Drive
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Eagan, MN 55123-0000

       RE: 22-2644 Lady Maakia Charlene Smith v. Richard Lisenbe, et al

Dear Sir or Madam:

       A published opinion was filed today in the above case.

       Counsel who presented argument on behalf of the appellant and appeared on the brief
was Charles C. Eblen, of Kansas City, MO. The following attorney(s) also appeared on the
appellant brief; Brandon K. Gutshall, of Kansas City, MO, Lindsey K. Heinz, of Kansas
City, MO.

      Counsel who presented argument on behalf of the appellees and appeared on the brief
was Michael G. Berry, of Jefferson City, MO.

      The judge who heard the case in the district court was Honorable John Max
Bodenhausen.

       If you have any questions concerning this case, please call this office.

                                                           Michael E. Gans
                                                           Clerk of Court

HAG

Enclosure(s)

cc: MO Lawyers Weekly


          District Court/Agency Case Number(s): 4:20-cv-00804-JMB




   Appellate Case: 22-2644         Page: 1          Date Filed: 07/12/2023 Entry ID: 5294878
                  United States Court of Appeals
                             For the Eighth Circuit
                         ___________________________

                                 No. 22-2644
                         ___________________________

               Lady Maakia Charlene Smith, personal representative
                   of the Estate of Bilal Hasanie Hill, deceased

                                        Plaintiff - Appellant

                                          v.

       Richard Lisenbe, in his official capacity as Sheriff of Phelps County;
                                Kelly Ratcliff; and
                              Joe Taylor, Lieutenant

                                    Defendants - Appellees
                                  ____________

                     Appeal from United States District Court
                       for the Eastern District of Missouri
                                 ____________

                             Submitted: April 12, 2023
                               Filed: July 12, 2023
                                  ____________

Before BENTON, GRASZ, and STRAS, Circuit Judges.
                           ____________

GRASZ, Circuit Judge.

       Bilal Hasanie Hill was in pretrial custody at Phelps County Jail for about six
months. After he was released, Hill sued Lieutenant Joe Taylor, Officer Kelly
Ratcliff, and Phelps County, Missouri, for damages from inadequate medical care




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during his pretrial detention. The district court1 awarded Taylor, Ratcliff, and Phelps
County summary judgment. We affirm.

                                   I. Background

     In October 2019, Ratcliff booked Hill into jail as a pretrial detainee. Hill
weighed in at 196.5 pounds, but his weight and health gradually declined.

       Starting on January 13, 2020, Hill received medical attention related to pain
in his neck, back, shoulder, and chest that began about a week earlier. Dr. Bentley
characterized the injury as a “muscle strain” and recommended Hill take Tylenol.
About one week later, Hill asserted in a “sick call request form” that he was
“misdiagnosed” regarding the pain in his neck, back, and shoulder. Within a few
days, Dr. Bentley acknowledged Hill’s pain, but once again recommended he take
Tylenol.

      A number of formal complaints followed. On February 6, Hill filed a
grievance in which he again claimed he was misdiagnosed and asked to be
hospitalized because of his “extreme pain.” Taylor responded by noting Hill saw
the doctor multiple times, was provided Tylenol, and was seen regularly exercising.
Taylor wrote that he would follow up with Hill after the doctor saw him again. That
same day, Taylor asked staff to “keep an extra eye on” Hill and let him know if Hill
was exercising.

       Hill filed a second grievance on February 12. While Hill did not expand upon
where he was experiencing pain, he requested to be hospitalized so he could be
correctly diagnosed. Dr. Bentley apparently disagreed, as evidenced by his
instruction that same day for Hill to take Tylenol as needed. At this time, Hill
weighed 190 pounds.

      1
       The Honorable John M. Bodenhausen, United States Magistrate Judge for the
Eastern District of Missouri, to whom the case was referred for final disposition by
consent of the parties under 28 U.S.C. § 636(c).
                                         -2-

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      On February 16, Hill filed yet another medical grievance. Hill asked to be
seen by a doctor who had “access to the proper medical equipment” to correctly
diagnose him, reasoning that he should not have to take “thousands” of milligrams
of Tylenol and ibuprofen to address the “severe pain” in his rotator cuff and back.
Taylor responded that Hill’s “medical condition is being re-evaluated by a team of
[doctors at Advanced Correctional Healthcare].” The next day, Hill filed a fourth
medical grievance wherein he asked to be sent to the hospital in light of the ongoing
pain. Around this time, Taylor requested a medical professional provide a second
opinion regarding Hill’s care.

       In the meantime, while waiting for a second opinion, Hill’s condition
deteriorated. On February 25, Hill filed a medical grievance that explained he was
losing feeling in his arm, had a growth in his neck, and continued to experience
severe pain. Hill submitted similar complaints over the next two weeks.

      On March 9, Dr. Schamber followed up on Taylor’s request for a second
opinion regarding Hill’s medical care. In an email to Taylor, an Advanced
Correctional Healthcare employee forwarded the following statement representing
Dr. Schamber’s assessment:

      The case has been reviewed, and it appears from the record that the
      patient is receiving objectively reasonable care based on the complaints
      given. One recommendation is to consider an activity log to see if
      patient subjective complaints match activity level as it is documented
      that the patient has a rather normal exam.

       In mid-March, a prison official moved Hill to a “holdover cell.” Taylor
apparently approved the move for medical observation purposes, which allowed
prison officials to regularly monitor Hill. While in the holdover cell, Hill often
screamed and cried for help, which resulted in at least some medical attention.
Ratcliff was listed in a handful of shift supervisor reports as being “present” while
Hill was in the holdover cell, but, like the district court, we discern no evidence as
to who observed Hill and his condition during this time period.
                                         -3-

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      On April 1, Dr. Bentley referred Hill to an emergency room after he could not
determine the reason for his pain and observed Hill weighed 168 pounds—a rapid
decline from mid-February. The following day, Hill was evaluated by a physician
who told Hill he had a “significant cancer” that was terminal. In a deposition, that
physician described Hill as “emaciated,” “skeletal,” and having an “odor” that
indicated “he was in a dying process.”

       Following his compassionate release from custody, Hill filed this lawsuit in
federal court. During the pendency of his case, Hill passed away. His sister, Lady
Maakia Charlene Smith, took over the case as the personal representative of Hill’s
estate. Smith amended the complaint and, as relevant here, asserted claims for
deliberate indifference against Taylor and Ratcliff; unconstitutional policies,
practices, or customs against Phelps County; and medical negligence against Dr.
Bentley.

      The district court awarded Taylor, Ratcliff, and Phelps County summary
judgment.2 The district court concluded there was no genuine issue of material fact
on the deliberate indifference claim against Taylor and Ratcliff; Taylor and Ratcliff
were entitled to qualified immunity on the deliberate indifference claim; and the
claim against Phelps County failed because Taylor and Ratcliff did not violate the
Constitution.

       Although the district court granted summary judgment in favor of Taylor,
Ratcliff, and Phelps County, certain claims against other defendants (including Dr.
Bentley) proceeded to trial. A jury returned a verdict in favor of Smith, awarding
over eight million dollars in compensatory and punitive damages. After the district


      2
        At summary judgment, the only remaining claim against Sheriff Richard
Lisenbe was in his official capacity. “A suit against a government officer in his
official capacity is functionally equivalent to a suit against the employing
governmental entity.” Veatch v. Bartels Lutheran Home, 627 F.3d 1254, 1257 (8th
Cir. 2010). Smith’s claim against Lisenbe, therefore, is a claim against Phelps
County.
                                       -4-

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court entered final judgment, Smith timely appealed. She asks us to reverse the
district court’s grant of summary judgment entered in favor of Taylor, Ratcliff, and
Phelps County.

                                    II. Analysis

       “We review de novo the district court’s grant of summary judgment, viewing
the facts in the light most favorable to the non-moving party.” Hancock v. Arnott,
39 F.4th 482, 486 (8th Cir. 2022). A district “court shall grant summary judgment
if the movant shows that there is no genuine dispute as to any material fact and the
movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

                             A. Deliberate Indifference

        Smith argues the district court erred by entering summary judgment in favor
of Taylor and Ratcliff on her claim for deliberate indifference to a serious medical
need. “A pretrial detainee’s deliberate indifference claim is governed by the
Fourteenth Amendment,” Perry v. Adams, 993 F.3d 584, 587 (8th Cir. 2021), which
prohibits a state from “depriv[ing] any person of life, liberty, or property, without
due process of law.” U.S. Const. amend. XIV, § 1. Nonetheless, a pretrial detainee
receives “at least the same protections that convicted prisoners receive under the
Eighth Amendment.” Perry, 993 F.3d at 587; see also City of Revere v. Mass. Gen.
Hosp., 463 U.S. 239, 244 (1983). The Eighth Amendment, in turn, prohibits the
infliction of “cruel and unusual punishments,” U.S. Const. amend. VIII, which in
this context means a state official cannot be deliberately indifferent to a prisoner’s
serious medical needs. Estelle v. Gamble, 429 U.S. 97, 104 (1976).

       To succeed on a Fourteenth Amendment deliberate indifference claim, “a
plaintiff must demonstrate that a pretrial detainee had an objectively serious medical
need that the defendants knew of and yet deliberately disregarded.” Reece v. Hale,
58 F.4th 1027, 1030 (8th Cir. 2023) (quoting Ivey v. Audrain Cnty., 968 F.3d 845,
848 (8th Cir. 2020)). Whether Hill had an objectively serious medical need is not in
                                         -5-

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dispute. Instead, the dispute revolves around whether Taylor and Ratcliff knew of
Hill’s serious medical need and yet deliberately disregarded it. For this element,
disregard of a pretrial detainee’s serious medical need “must rise to the level of
criminal recklessness.” Leonard v. St. Charles Cnty. Police Dep’t, 59 F.4th 355,
360 (8th Cir. 2023). Further, “the evidence must show that the officers recognized
that a substantial risk of harm existed and knew that their conduct was inappropriate
in light of that risk.” Krout v. Goemmer, 583 F.3d 557, 567 (8th Cir. 2009).

       Under this standard, we conclude there is not a genuine issue of material fact
as to whether Taylor or Ratcliff were deliberately indifferent. A correctional
officer’s deference to a medical professional regarding a pretrial detainee’s medical
care, standing alone, does not create a genuine issue of material fact on deliberate
indifference to serious medical need. See McRaven v. Sanders, 577 F.3d 974, 981
(8th Cir. 2009) (“A prison official may rely on a medical professional’s opinion if
such reliance is reasonable.”); cf. Farmer v. Brennan, 511 U.S. 825, 844 (1994)
(“[P]rison officials who actually knew of a substantial risk to inmate health or safety
may be found free from liability if they responded reasonably to the risk, even if the
harm ultimately was not averted.”). Here, Taylor and Ratcliff were generally aware
that Hill was experiencing medical issues. Critically, however, Hill received regular
medical attention from mid-January until his hospitalization on April 1. And, in
mid-March, about two weeks before Hill’s hospitalization, a doctor responded to
Taylor’s request for a second opinion by stating Hill’s medical care was objectively
reasonable. Cf. Meloy v. Bachmeier, 302 F.3d 845, 849 (8th Cir. 2002) (“Prison
officials cannot substitute their judgment for a medical professional’s
prescription.”).

        Smith nonetheless focuses on Hill’s time in the holdover cell. Because Hill
testified in his deposition that he was screaming and crying while he was in the
holdover cell, Smith speculates it would be impossible for someone not to discern a
serious medical need. Smith, however, points to nothing in the record showing
Taylor or Ratcliff deliberately disregarded Hill’s condition while he was in the
holdover cell during the final weeks of his pretrial detention. Instead, Smith points
                                         -6-

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to evidence that Phelps County employees were generally aware that Hill was
suffering. This evidence, however, does nothing to address the focus of our inquiry:
whether Taylor or Ratcliff deliberately disregarded Hill’s serious medical need. 3

       Smith also analogizes this case to McRaven. In McRaven, we noted a prison
official may rely on a medical professional’s opinion if reliance on that opinion “is
reasonable.” 577 F.3d at 981. But we nonetheless concluded the district court did
not err by denying qualified immunity to a prison official who cited his reliance on
a medical professional’s opinion. Id. We reasoned the prison official could not rely
on the medical opinion because the official knew the pretrial detainee consumed a
dangerous combination of drugs; knew the pretrial detainee “exhibited symptoms of
extreme intoxication”; and knew, or reasonably should have known, the medical
official based his evaluation of the pretrial detainee on faulty information. Id. The
facts here are markedly different. There is nothing in the record suggesting, for
example, that Taylor or Ratcliff withheld relevant information from medical
professionals. See Reece, 58 F.4th at 1033 (distinguishing McRaven on similar
grounds). And, as we detailed above, there is no material evidence that Taylor or
Ratcliff, in light of the ongoing medical treatment, deliberately disregarded Hill’s
serious medical need. 4

       In sum, we conclude there is no genuine issue of material fact as to whether
Taylor or Ratcliff violated the Fourteenth Amendment. Because we conclude there
is no constitutional violation, we need not address whether Taylor and Ratcliff are

      3
        Smith argues the adverse inference rule applies because the videos depicting
Hill in the holdover cell were destroyed. “The adverse inference rule applies only
‘when a party has relevant evidence within its control which it fails to produce.’”
Everest Cap. Ltd. v. Everest Funds Mgmt., L.L.C., 393 F.3d 755, 761 n.3 (8th Cir.
2005) (quoting Rockingham Machine-Lunex Co. v. NLRB, 665 F.2d 303, 304 (8th
Cir. 1981)). Here, the videos were automatically deleted after ninety days, and we
discern no basis for concluding Taylor or Ratcliff failed to produce the videos.
      4
       For this reason, Smith’s reliance on Langford v. Norris, 614 F.3d 445 (8th
Cir. 2010), is also misplaced.
                                        -7-

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entitled to qualified immunity under the second prong of the analysis. See Pearson
v. Callahan, 555 U.S. 223, 236 (2009).

                                B. Monell Liability

       The district court awarded summary judgment in favor of Phelps County
because there was no underlying constitutional violation by Taylor or Ratcliff.
Smith argues the district court erred because there is a genuine issue of material fact
on the deliberate indifference claim against Taylor and Ratcliff. Broadly, a local
government can be held liable for a constitutional violation, Monell v. Dep’t of Soc.
Servs. of City of New York, 436 U.S. 658, 694 (1978), but it cannot be liable unless
there was an unconstitutional act by one of its employees. See Webb v. City of
Maplewood, 889 F.3d 483, 486–87 (8th Cir. 2018). Because we have concluded
Taylor and Ratcliff did not violate the Fourteenth Amendment, the district court did
not err by awarding Phelps County summary judgment on the Monell claim. See
Smith v. Kilgore, 926 F.3d 479, 486 (8th Cir. 2019).

                                  III. Conclusion

      We affirm the judgment of the district court.
                      ______________________________




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